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Sam S. Leslie, Chapter 7 Trustee
1130 S. Flower Street, Suite 312
Los Angeles, CA 90015
Telephone: (323) 987-5780
Email: trustee@trusteeleslie.com



                                   UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                         LOS ANGELES DIVISION

In re                                                         Case No. 2:24-14881-NB

PETER ALEXANDER ZUK
                                                              A Chapter 7 Proceeding
                               Debtor(s)
                                                              NOTICE OF CONTINUED MEETING OF
                                                              CREDITORS AND APPEARANCE OF
                                                              DEBTOR [11 USC 341(a)]

COUNSEL: MICHAEL KOGAN
TO THE ABOVE NAMED DEBTOR(S):

       You are hereby notified that the Meeting of Creditors pursuant to Title 11 U.S.C. Section 341(a) in the
above-captioned matter has been continued to September 30, 2024 at 11:00 AM via Zoom. Go to
Zoom.us/join, Enter Meeting ID 582 564 6318, and Passcode 0893144396, OR call 1-213-808-3112

       The case has been continued for administrative reasons. Please contact Trustee’s office to see if
appearances or additional documents are required (trustee@trusteeleslie.com).

       Please make sure that prior to the meeting you have read the enclosed information for the Section 341(a)
Meeting of Creditors and follow all instructions. Also, prior to your meeting you must have read the enclosed
Information Sheet provided by the Office of the United States Trustee.



 Dated:     September 13, 2024                        /s/ Sam S. Leslie
                                                     Sam S. Leslie, Chapter 7 Trustee

       I certify that I served the within notice on the above debtor(s) and the debtor(s)’ attorney, if applicable,
on September 13, 2024.

                                                     /s/ Shawn Sterrett
                                                    Shawn Sterrett
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    INFORMATION FOR THE SECTION 341 MEETING OF CREDITORS


Preparing to Participate in the 341 Meeting Via Zoom

The debtor and other participants will need an electronic device (computer, laptop, tablet, or
smartphone) with a microphone, camera, and Internet access to participate in the Zoom 341
meeting. https://www.justice.gov/ust/moc. Online tutorials for how to connect to a Zoom
meeting are also available by searching “Joining a Zoom Meeting” in Google or other Internet
search engines. If possible, the debtor should test their electronic device, Internet connection,
and ability to connect to a Zoom meeting prior to attending the virtual 341 meeting.

Joining the Zoom 341 Meeting

To join the 341 meeting by video, the debtor and other participants must go to Zoom.us/join and
enter the Meeting ID and Passcode when prompted. The Meeting ID and Passcode are set out in
section 7 of the Notice of Bankruptcy Case (Oﬃcial Forms 309A, B, C, D, G, H, or I) that is mailed
to the debtor and creditors after the ﬁling of the bankruptcy case. This information also can be
found at https://www.justice.gov/ust/moc. When prompted to enter a name, the debtor and
other participants should enter their ﬁrst and last name so each participant may be identiﬁed
properly during the 341 meeting. More detailed instructions for joining a Zoom 341 meeting can
be found at https://www.justice.gov/ust/moc. The debtor and other participants should join the
341 meeting 10 minutes before the scheduled start time.

Setting for the Virtual 341 Meeting

All participants, but speciﬁcally the debtor who will be providing testimony, should connect to
the 341 meeting from a quiet location, free from background noise, distractions, or disruptions,
which is appropriate for their participation in a video meeting that is open to the public.
Participants should mute their microphones on Zoom and on their devices until their case is
called. Audio-only participants should avoid speaker phones unless two or more persons are
appearing together from the same device.

The debtor and the debtor’s attorney (if the debtor is represented) should ensure they can both
view the video screen and be viewed by the trustee. To replicate an in-person 341 meeting, to
provide the proper decorum, and to allow the trustee to perceive the interaction between the
debtor and their attorney, the debtor and debtor’s attorney should situate themselves so they
both may be clearly viewed on the video screen.

Zoom Connection Issues
If any party is disconnected before the 341 meeting is concluded, they should reconnect to the
Zoom meeting using the same Zoom meeting login information or meeting link to be admitted
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back into the 341 meeting. If they are unable to reconnect, they should contact the trustee after
the meeting.
If the debtor fails to attend the virtual 341 meeting for any reason, including the inability to
connect to the Zoom meeting, they should contact the trustee immediately. Failure by the debtor
to attend or fully participate in their virtual 341 meeting will be treated in the same manner as a
failure to attend an in-person 341 meeting and may result in dismissal of the debtor’s case if
further immediate action is not taken by the debtor to appear at their 341 meeting.

Audio-Only Connection to 341 Meeting

The debtor and the debtor’s attorney (if the debtor is represented) are expected to appear at
the virtual 341 meeting by video. If the debtor appears telephonically, the trustee likely will
reschedule the 341 meeting to ensure proper identiﬁcation and safeguards are in place for their
testimony. This may be called a continued or adjourned meeting. In this circumstance, the
trustee will specify the manner in which the debtor should attend the continued 341 meeting.

Non-debtor participants who have no video access or who have trouble connecting by video may
join the 341 meeting by audio-only without seeking approval by the trustee.

Official Recording of the 341 Meeting

The trustee will make an audio recording of the 341 meeting which will constitute the oﬃcial
recording of the 341 meeting. All other recordings, including video or audio recordings of the
341 meeting, are prohibited. No one is permitted to photograph the debtor or any other person
attending the virtual 341 meeting.

FBI INVESTIGATION OF BANKRUPTCY CRIMES

All participants in the 341 meeting should be aware that federal law provides severe criminal
penalties of up to ﬁve years imprisonment, a ﬁne of not more than $250,000, or both, for
bankruptcy crimes, which include bribery, concealment of assets, false statements, false claims,
ﬁling under a ﬁctitious name, and perjury.

Additional Information for Debtors

The debtor should follow speciﬁc identiﬁcation procedures at virtual 341 meetings which include
submitting copies of a photo identiﬁcation and proof of social security number, if one exists, to
the trustee in advance of the 341 meeting. If the debtor fails to provide these documents in
advance, the trustee will likely adjourn and continue the 341 meeting. These procedures and
requirements are discussed below under the section Requirements for Verifying Debtor
Identiﬁcation Documents.
